                       Case 3:20-mj-00782-RMS Document 1 Filed 09/14/20 Page 1 of 4
AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                      UNITED STATES DISTRICT COURT
                                                                         for the
                                                         District District
                                                     __________   of Connecticut
                                                                           of __________

              In the Matter of the Search of                                 )
         (Briefly describe the property to be searched                       )
          or identify the person by name and address)                        )              Case No. 20-mj-00782 (WIG)
the Premises Known and Described as 1 Austin Drive,                          )
  Fairfield, CT, and closed containers and electronic                        )
               devices contained therein.
                                                                             )

    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
 See Attachment A

located in the                                    District of                Connecticut               , there is now concealed (identify the
person or describe the property to be seized):
 See Attachment B


          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                evidence of a crime;
               u
                contraband, fruits of crime, or other items illegally possessed;
               u
                  property designed for use, intended for use, or used in committing a crime;
                 u
                 u a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                               Offense Description
        18 U.S.C. §§ 1962(d), 892,                Racketeering conspiracy, making, financing, and collecting extortionate
        893, 894, and 1951                        extensions of credit, and interference with commerce by threats or violence

          The application is based on these facts:
        See attached agent affidavit

            Continued on the attached sheet.
           u
           u Delayed notice of        days (give exact ending date if more than 30 days:                                   ) is   requested under
             18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.                          Digitally signed by Sarah Lingsch

                                                                              Sarah Lingsch                     DN: cn=Sarah Lingsch, o, ou,
                                                                                                                email=slingsch@fbi.gov, c=US
                                                                                                                Date: 2020.09.14 12:31:18 -04'00'

                                                                                                     Applicant’s signature

                                                                                              Sarah Lingsch, Special Agent, FBI
                                                                                                     Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                      telephone                       (specify reliable electronic means).


Date:          ij
     i ,h ~ 2--ti                                                                               s/William I. Garfinkel
                                                                                                        •c__j-'
                                                                                                                I
                                                                                                                      10--(
                                                                                                       Judge’s signature

City and state:           Pr{,,,cr                                                    Hon. William I. Garfinkel, U.S. Magistrate Judge
                                                                                                     Printed name and title
         Case 3:20-mj-00782-RMS Document 1 Filed 09/14/20 Page 2 of 4




                                    ATTACHMENT A

                               PLACE TO BE SEARCHED

The Subject Premises, depicted below, are particularly described as a white single-family home
located at 1 Austin Drive, Fairfield, CT. The Subject Premises can be accessed via a private
driveway marked by a mailbox to which the number “1” is affixed. The front door of the Subject
Premises is painted white with a half-moon shaped window in the upper portion.
            Case 3:20-mj-00782-RMS Document 1 Filed 09/14/20 Page 3 of 4




                                       ATTACHMENT B

                         DESCRIPTION OF ITEMS TO BE SEIZED

         The items to be seized from the Subject Premises consist of the following evidence,
fruits, and instrumentalities of racketeering conspiracy, in violation of 18 U.S.C. § 1962(d) and
extortion (including extortionate extensions of credit, extortionate debt collection, and financing
of the same), in violation of 18 U.S.C. §§ 892, 893, 894, and 1951 (the “Subject Offenses”)
described as follows:

       a.      Evidence concerning occupancy or ownership of the Subject Premises, including
               without limitation titles, utility and telephone bills, mail envelopes, addressed
               correspondence, identification documents, and address books;

       b.      Evidence concerning the identity or location of, and communications with,
               co-conspirators, including without limitation photographs, diaries, contact lists,
               and address books;

       c.      Evidence concerning the identity or location of, and communications with,
               victims or intended victims, including without limitation photographs, contact
               lists, address books, and ledgers or other records of debts;

       d.      Evidence concerning extortion and the extortionate extension of credit
               (loansharking), including but not limited to, bank accounts, lists of debtors,
               ledgers;

       e.      Evidence of proceeds of the Subject Offenses, including without limitation United
               States or foreign currency, ledgers or other records of debts, bank statements,
               receipts, tax returns evidencing the absence of legitimate income, property such as
               jewelry, art, fine furniture, and other valuable goods which would constitute
               evidence of unexplained wealth;

       f.      Evidence concerning safety deposit boxes, storage units, or ownership of other
               real estate where evidence, fruits, or instrumentalities of the Subject Offenses
               might be found;

       g.      Any safes, key-lock strong boxes, and other types of locked or closed containers
               that may contain any of the items described in paragraphs (a) through (f) above;
               and

       h.      Any cellular phones and SIM cards, which have indicia of ownership, dominion,
               or control by the Target Subject, to be searched for any of the items described in
               paragraphs (a) through (f) above, as well as:

               1. Evidence of who used, owned, or controlled the electronic device at the time
                  the things described in this warrant were created, edited, or deleted, such as
                  logs, registry entries, configuration files, saved usernames and passwords,
Case 3:20-mj-00782-RMS Document 1 Filed 09/14/20 Page 4 of 4




      documents, browsing history, user profiles, email, email contacts, “chats,”
      instant messaging logs, photographs, and correspondence;

   2. Evidence of the times the electronic device was used;

   3. Passwords, encryption keys, and other access devices that may be necessary to
      access the electronic device;

   4. Documentation and manuals that may be necessary to access the electronic
      device or to conduct a forensic examination of the electronic device;

   5. Contextual information necessary to understand the other information
      recovered.
